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                                                        - 722 -
                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                          BOHAC v. BENES SERVICE CO.
                                              Cite as 310 Neb. 722



                             Karen Bohac, Personal Representative of
                             the Estate of Marlene A. Benes, deceased,
                               appellant and cross-appellee, v. Benes
                                Service Co., a Nebraska corporation,
                                   appellee and cross-appellant.
                                                   ___ N.W.2d ___

                                        Filed January 14, 2022.   No. S-21-133.

                 1. Equity: Stock: Valuation. A proceeding under the provisions of Neb.
                    Rev. Stat. § 21-2,201 (Cum. Supp. 2020) to determine the fair value of
                    a petitioning shareholder’s shares of stock is equitable in nature.
                 2. Equity: Appeal and Error. An appellate court reviews an equitable
                    action de novo on the record and reaches a conclusion independent of
                    the factual findings of the trial court; however, where credible evidence
                    is in conflict on a material issue of fact, the appellate court considers
                    and may give weight to the circumstance that the trial court heard and
                    observed the witnesses and accepted one version of the facts rather
                    than another.
                 3. Statutes: Appeal and Error. Statutory interpretation is a matter of law,
                    in connection with which an appellate court has an obligation to reach
                    an independent, correct conclusion irrespective of the determination
                    made by the court below.
                 4. Corporations: Appeal and Error. In ordering the terms of payment
                    under Neb. Rev. Stat. § 21-2,201(e) (Cum. Supp. 2020), an appellate
                    court will review for abuse of discretion.
                 5. Corporations: Valuation: Words and Phrases. While the Nebraska
                    Model Business Corporation Act’s election-to-purchase provisions
                    do not explicitly define “fair value,” the act’s provisions governing
                    appraisal rights state that “fair value” means the value of the corpora-
                    tion’s shares determined using customary and current valuation concepts
                    and techniques generally employed for similar businesses in the context
                    of the transaction requiring appraisal.
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           Nebraska Supreme Court Advance Sheets
                    310 Nebraska Reports
                      BOHAC v. BENES SERVICE CO.
                          Cite as 310 Neb. 722
 6. Statutes: Legislature: Presumptions. In enacting a statute, the
    Legislature is presumed to know the general condition surrounding
    the subject matter of the legislative enactment, and it is presumed to
    know and contemplate the legal effect that accompanies the language it
    employs to make effective the legislation.
 7. Statutes: Judicial Construction: Legislature: Presumptions: Intent.
    Where a statute has been judicially construed and that construction has
    not evoked an amendment, it is presumed that the Legislature has acqui-
    esced in the court’s determination of the Legislature’s intent.
 8. Corporations: Merger. A dissenting minority shareholder’s right to a
    fair value appraisal can be triggered merely by the majority’s benign
    decision to engage in a merger or some other corporate transaction.
    Minority shareholders in these cases are protected from discounts for
    lack of marketability or minority status, not because there has been fault
    but simply to protect the vulnerability of the dissenter.
 9. Corporations: Valuation. A “going concern” premise of value is used
    in a fair value determination when the subject company is expected to
    continue to operate into the future.
10. ____: ____. A “liquidation” premise of value is used in a fair value
    determination when the business is not expected to continue, and it
    requires a determination of the net amount that would be realized if the
    business is terminated and the assets are sold piecemeal.
11. Corporations: Valuation: Words and Phrases. The asset-based
    approach is a type of methodology that can be used in fair value deter-
    minations. It is a general way of determining a value indication of a
    business’ assets and/or equity based directly on the value of the assets of
    the business less liabilities.
12. ____: ____: ____. The asset-based approach is generally applied when
    valuing a business whose operations require significant investment in
    fixed assets.
13. ____: ____: ____. The income approach is a type of methodology that
    can be used in fair value determinations. It is a general way of determin-
    ing a value indication of a business’ assets and/or equity based on the
    future, projected cashflow of a company.
14. ____: ____: ____. The market approach is a type of methodology that
    can be used in fair value determinations. It is a general way of determin-
    ing a value indication of a business’ assets and/or equity by comparing
    the subject to similar investments that have been sold.
15. Legislature: Intent. The intent of the Legislature is expressed by omis-
    sion as well as by inclusion.
                              - 724 -
            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
   Appeal from the District Court for Saunders County:
Christina M. Marroquin, Judge. Affirmed in part, vacated
in part, and in part reversed and remanded with directions.
  Jovan W. Lausterer, of Bromm, Lindahl, Freeman-Caddy &amp;
Lausterer, for appellant.
  Sheila A. Bentzen and Adam J. Kost, of Rembolt Ludtke,
L.L.P., for appellee.
      Miller-Lerman, Cassel, Funke, Papik, and Freudenberg,
JJ.
      Freudenberg, J.
                       I. INTRODUCTION
   Leonard and Marlene A. Benes formed the Benes Service
Co. (BSC) in 1966. Their children assisted in the day-to-day
operations and eventually joined as stockholders of varying
degrees. After Leonard passed away, four of the couple’s
sons took over active management. After Marlene’s death, her
owner­ship interest transferred to the couple’s daughters through
her estate (the Estate). Karen Bohac, the personal representa-
tive of the Estate and one of the couple’s daughters, began
investigating BSC and its corporate practices, later filing a
petition for dissolution. BSC responded with an election to
purchase in lieu of dissolution.
   Trial was held on the matter to determine fair value of the
Estate’s 14.84 percent interest in BSC. The trial court found that
the fair value of 14.84 percent of BSC was worth $2,886,790.
The district court declined to award Bohac expenses, attorney
fees, and prejudgment interest, and it provided for payment
of the judgment in annual installments over 5 years. Bohac
appealed, and BSC cross-appealed, at which time we moved
this appeal to our docket.
   We affirm in part, vacate in part, and in part reverse and
remand with directions to the district court to recalculate the
fair value of BSC and the Estate’s 14.84 percent interest in
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         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
                  BOHAC v. BENES SERVICE CO.
                      Cite as 310 Neb. 722
accordance with this opinion and to set new payment terms
according to such recalculated value.

                       II. BACKGROUND
   BSC is a family-owned business consisting of both a farm
implement division and a farming operation, organized as a
C corporation in the State of Nebraska and formed in 1966 by
Leonard and Marlene. Leonard passed away in 2011, at which
time four of Leonard and Marlene’s five sons took over the
active management of the company. Marlene passed away in
August 2017. At the time of her death, four of the sons each
owned approximately 20 to 21 percent of BSC, while Marlene
owned a 14.84 percent interest in BSC. Each of the couple’s
six daughters are devisees under Marlene’s will and would
receive equal benefit from the Estate’s 14.84 percent interest.
One of the daughters was employed by BSC for many years;
she and her husband each hold a separate .61 percent interest
in BSC.
   Bohac was Marlene’s power of attorney and became per-
sonal representative of the Estate upon Marlene’s death. Bohac
first began investigating BSC in order to file a tax return for
the Estate. Upon investigation of BSC’s business practices,
Bohac filed a petition for judicial dissolution on September
20, 2018. Bohac alleged that four of the sons “acted in an
illegal, oppressive and/or fraudulent manner” in multiple cir-
cumstances: They were not holding required meetings, they
were not obtaining director and stockholder approval for major
transactions, they were not properly reporting income, and
they were engaging in self-dealing activities, among other
allegations.
   BSC filed an answer denying these allegations and then
timely filed an election to purchase the Estate’s 14.84 percent
of common stock in lieu of judicial dissolution of the com-
pany. Based on this filing, Bohac was obligated to sell the
Estate’s interest in lieu of dissolution pending a determination
of fair value of such interest. The parties could not come to an
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           Nebraska Supreme Court Advance Sheets
                    310 Nebraska Reports
                     BOHAC v. BENES SERVICE CO.
                         Cite as 310 Neb. 722
agreement as to the fair value of the 14.84 percent interest, and
so a trial was held wherein the district court was tasked with
making such determination.
   After an evidentiary hearing, the district court found that
the fair value of the Estate’s 14.84 percent share of BSC was
$2,886,790 as of September 19, 2018, the day before the peti-
tion for dissolution was filed. The district court declined to
award Bohac expenses, attorney fees, and prejudgment interest,
and it provided for payment of the judgment in annual install-
ments over 5 years.
   Bohac appealed, and BSC cross-appealed. We thereafter
moved this appeal to our docket.

               III. ASSIGNMENTS OF ERROR
   Bohac assigns that the district court erred in (1) failing to
apply the definition of “fair value” as set forth in Neb. Rev.
Stat. § 21-2,171(3) (Cum. Supp. 2020); (2) applying lack of
marketability and minority discounts to an asset approach as
a going concern; (3) failing to find that Bohac had probable
grounds for relief entitling the Estate to an award of expenses
pursuant to Neb. Rev. Stat. § 21-2,201(e) (Cum. Supp. 2020);
(4) failing to award Bohac interest starting on September 19,
2018, pursuant to § 21-2,201(e); and (5) granting BSC 5 years
to make annual, interest-free payments.
   On cross-appeal, BSC assigns that the district court erred
in applying the asset-based approach over the income-based
approach in its determination of the fair value of BSC.

                IV. STANDARD OF REVIEW
   [1,2] A proceeding under the provisions of § 21-2,201 to
determine the fair value of a petitioning shareholder’s shares
of stock is equitable in nature. 1 An appellate court reviews
an equitable action de novo on the record and reaches a con-
clusion independent of the factual findings of the trial court;
1
    Anderson v. A &amp; R Ag Spraying &amp; Trucking, 306 Neb. 484, 946 N.W.2d
    435 (2020).
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            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                     BOHAC v. BENES SERVICE CO.
                         Cite as 310 Neb. 722
however, where credible evidence is in conflict on a material
issue of fact, the appellate court considers and may give weight
to the circumstance that the trial court heard and observed
the witnesses and accepted one version of the facts rather
than another. 2
   [3] Statutory interpretation is a matter of law, in connection
with which an appellate court has an obligation to reach an
independent, correct conclusion irrespective of the determina-
tion made by the court below. 3
   [4] In ordering the terms of payment under § 21-2,201(e), an
appellate court will review for abuse of discretion. 4

                         V. ANALYSIS
           1. What Is “Fair Value” of The Estate’s
               14.84 Percent Interest in BSC?
   The issue of determining fair value of the Estate’s 14.84
percent interest in BSC is a multistep analysis. This court
must first consider the definition of “fair value” as applied to
an election to purchase shares in lieu of judicial dissolution.
Second, we must consider whether this definition of fair value
includes, excludes, or has no effect on the applicability of dis-
counts for lack of marketability and control.
   Third, we must determine the premise of value that will
apply; here, the options include either “as a going concern”
or “as if in liquidation.” Fourth, we must decide whether the
principle of highest and best use mandates the application of a
certain methodology to value BSC and then apply the selected
methodology to the determined value of the company’s assets,
income, or market value to come to a final conclusion as to
the fair value of both BSC and the Estate’s 14.84 percent
interest in BSC. Each component of this analysis is included
2
    Id.
3
    Id.
4
    See Wayne L. Ryan Revocable Trust v. Ryan, 308 Neb. 851, 957 N.W.2d
    481 (2021) (citing Link v. L.S.I., Inc., 793 N.W.2d 44 (S.D. 2010)).
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            Nebraska Supreme Court Advance Sheets
                     310 Nebraska Reports
                     BOHAC v. BENES SERVICE CO.
                         Cite as 310 Neb. 722
within our fair value determination and is therefore reviewed
de novo with weight given to the trial court for determinations
of credibility. 5
                    (a) “Fair Value” Definition
   In her first assignment of error, Bohac assigns that the dis-
trict court erred in failing to apply the definition of “fair value”
as set forth in § 21-2,171(3) to its calculation of the Estate’s
14.84 percent interest in BSC. In its order, the trial court
referred to definitions previously applied under Neb. Rev. Stat.
§ 21-20,166 (Reissue 2012); however, this statutory section
was repealed prior to commencement of this suit and does not
control this issue. 6 Because this definition will impact many
other steps in the valuation analysis, it is essential that we
define “fair value” before analyzing the value of the Estate’s
14.84 percent interest in BSC.
   Bohac, on behalf of the Estate, initially brought this action as
a petition for dissolution pursuant to Neb. Rev. Stat. § 21-2,197
(Cum. Supp. 2020). In response, BSC filed an election to
purchase in lieu of dissolution, as permitted by § 21-2,201.
These two statutes are each within Neb. Rev. Stat. §§ 21-2,184
through 21-2,202 (Cum. Supp. 2020) (Part 14) of the Nebraska
Model Business Corporation Act (NMBCA).
   As provided by the NMBCA, if the parties engaged in an
election to purchase in lieu of dissolution cannot reach an
agreement within 60 days, the court shall stay dissolution
proceedings and “determine the fair value of the petitioner’s
shares” as of the day before the petition for dissolution was
filed or as of such other date as the court deems appropriate. 7
But the term “fair value,” as used within § 21-2,201, is not
defined either in this section or elsewhere within Part 14 of
the NMBCA.
5
    See Anderson v. A &amp; R Spraying &amp; Trucking, supra note 1. See, also,
    Wayne L. Ryan Revocable Trust v. Ryan, supra note 4.
6
    See § 21-20,166 (Cum. Supp. 2014).
7
    § 21-2,201(d) (emphasis spplied).
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           Nebraska Supreme Court Advance Sheets
                    310 Nebraska Reports
                     BOHAC v. BENES SERVICE CO.
                         Cite as 310 Neb. 722
   While not defined within Part 14, fair value is defined within
Neb. Rev. Stat. §§ 21-2,171 through 21-2,183 (Cum. Supp.
2020) (Part 13) regarding appraisal rights at § 21-2,171(3). For
purposes of appraisal rights,
      [f]air value means the value of the corporation’s shares
      determined:
         (i) Immediately before the effectuation of the corporate
      action to which the shareholder objects;
         (ii) Using customary and current valuation concepts
      and techniques generally employed for similar businesses
      in the context of the transaction requiring appraisal; and
         (iii) Without discounting for lack of marketability or
      minority status except, if appropriate, for amendments
      to the articles pursuant to subdivision (a)(5) of section
      21-2,172. 8
   Bohac urges us to adopt this definition in whole, to be used
identically in Part 14. BSC urges us to instead abide by the
limitation set forth by § 21-2,171, that definitions provided
therein apply only to Part 13. BSC also points to official com-
mentary, provided within a prior version of the standardized
Model Business Corporation Act, from which the NMBCA is
derived. That commentary stated, in part, “[a]s the introduc-
tory clause of section 13.01 notes, the definition of ‘fair value’
applies only to chapter 13.” 9
   There are two issues with BSC’s argument regarding the
official Model Business Corporation Act commentary. First,
this official commentary to the model act was not adopted
by the Legislature as part of the NMBCA. Second, as stated
within another section of the same official commentary relied
upon by BSC, “Section 14.34 does not specify the components
of ‘fair value,’ and the court may find it useful to consider
valuation methods that would be relevant to a judicial appraisal
8
    § 21-2,171(3).
9
    3 Model Business Corporation Act Ann. § 13.01, official comment at
    13-12 (4th ed. 2013).
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                       BOHAC v. BENES SERVICE CO.
                           Cite as 310 Neb. 722
of shares under section 13.30.” 10 Thus, even the standardized
Model Business Corporation Act recognizes that courts must
sometimes look to Part 13 for guidance when defining these
important terms. And that is exactly what this court has done
previously when faced with the issue of defining fair value
within the context of Part 14.
   In Anderson v. A &amp; R Ag Spraying &amp; Trucking, 11 two men
formed a corporation. After one of the shareholders passed
away, his interest in the corporation passed to his wife, who
then petitioned the court for judicial dissolution pursuant to
§ 21-2,197. The other shareholder thereafter filed an election to
purchase the corporation in lieu of judicial dissolution pursuant
to § 21-2,201.
   [5] In Anderson, we stated:
      While the [NMBCA’s] election-to-purchase provisions do
      not explicitly define “fair value,” the act’s provisions
      governing appraisal rights state that “fair value” means
      the value of the corporation’s shares determined “[u]sing
      customary and current valuation concepts and techniques
      generally employed for similar businesses in the context
      of the transaction requiring appraisal[.]” 12
We then applied this definition, originating in Part 13 of the
NMBCA, to the election to purchase brought by the other
shareholder under Part 14.
   Anderson mirrors this case, where the procedural actions
were similar both in form and statutory scheme. The cases
involved similar facts and circumstances surrounding a closely
held corporation. The analysis only differs in application of the
income approach methodology rather than the asset approach.
Thus, like Anderson, we will apply Part 13’s definition of fair
value to this action, even though it originated under Part 14.
As a result, fair value shall be determined using customary and
10
     Id., § 14.34, official comment at 14-170.
11
     Anderson v. A &amp; R Ag Spraying &amp; Trucking, supra note 1.
12
     Id. at 493, 946 N.W.2d at 442.
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          Nebraska Supreme Court Advance Sheets
                   310 Nebraska Reports
                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
current valuation concepts and techniques generally employed
for similar businesses in the context of the transaction requir-
ing appraisal.
                    (b) Discounts for Lack of
                    Marketability and Control
   We next consider the implications that this definition of fair
value will have on the applicability of discounts for lack of
control and lack of marketability. Bohac, in her second assign-
ment of error, assigns that the district court erred in applying
lack of marketability and minority discounts. Bohac asserts that
the definition of fair value from Part 13 should be adopted in
full, including § 21-2,171(3)(iii), which states that fair value is
calculated “[w]ithout discounting for lack of marketability or
minority status except, if appropriate, for amendments to the
articles pursuant to subdivision (a)(5) of section 21-2,172.”
   The exception described by § 21-2,172(a)(5) allows for
application of the marketability or minority discounts in an
appraisal action where the shareholder has requested payment
for fair value of their shares based on certain foreseeable cor-
porate actions, such as an amendment to the articles of incor-
poration, merger, or a disposition of corporate assets pursuant
to the bylaws. Section 21-2,172(a)(5) is not relevant in this
matter, because the election to purchase in lieu of dissolution
is not named by that subsection and is not similar to the type
of foreseeable actions listed in that subsection. Adoption of the
fair value definition provided by § 21-2,171(3) would thus pre-
clude discounts in an elect-to-purchase action, as no exception
would apply.
   We agree with Bohac and hold that the determination of fair
value for purposes of an elect-to-purchase action under Part
14 shall be defined using the definition of fair value, in its
entirety, as provided within Part 13 at § 21-2,171(3).
                       (i) “Fair Value”
   Our conclusion that fair value for purposes of an election-
to-purchase action under Part 14 should be calculated without
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                       BOHAC v. BENES SERVICE CO.
                           Cite as 310 Neb. 722
discounting for lack of marketability or minority status is
informed by the use of the word “fair value” in contrast to
another term that appears frequently in Nebraska statute—“fair
market value.” 13 Like other courts and commentators, we find
that the use of the term “fair value” instead of “fair market
value” in this context suggests “disapproval of a fair market
value approach and the discounting that would accompany it.” 14

              (ii) Official Commentary and NMBCA
   BSC asserts that lack of marketability and minority discounts
are both applicable and appropriate here, once again referring
to the official commentary discussed above and provided within
a prior version of the standardized Model Business Corporation
Act. As this commentary states, “the definition of ‘fair value’
applies only to chapter 13. See the Official Comment to sec-
tion 14.34 which recognizes that a minority discount may be
appropriate under that section.” 15 There are three issues with
BSC’s argument.
   [6] First and most important, the referenced official
commentary, as stated previously, was not adopted by the
Legislature when it passed the NMBCA. In enacting a statute,
the Legislature is presumed to know the general condition
surrounding the subject matter of the legislative enactment,
and it is presumed to know and contemplate the legal effect
that accompanies the language it employs to make effective
the legislation. 16 If the Legislature intended for discounts to
be expressly applicable to elect-to-purchase actions, it could
have chosen either to amend the model language accordingly
13
     See, e.g., Neb. Rev. Stat. § 21-2448(2) (Reissue 2012).
14
     Douglas K. Moll, Shareholder Oppression and “Fair Value”: Of Discounts,
     Dates, and Dastardly Deeds in the Close Corporation, 54 Duke L.J. 293,
     336 (2004).
15
     3 Model Business Corporation Act Ann., supra note 9.
16
     J.S. v. Nebraska Dept. of Health &amp; Human Servs., 306 Neb. 20, 944
     N.W.2d 266 (2020).
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                      BOHAC v. BENES SERVICE CO.
                          Cite as 310 Neb. 722
or to adopt the official commentary into our statutory scheme.
It chose to do neither.
   [7] Conversely, we have previously recognized that where a
statute has been judicially construed and that construction has
not evoked an amendment, it is presumed that the Legislature
has acquiesced in the court’s determination of the Legislature’s
intent. 17 In Anderson v. A &amp; R Ag Spraying &amp; Trucking, this
court considered the Part 13 definition of fair value as guid-
ance in valuing a corporation in an elect-to-purchase action
brought under Part 14. 18 The Legislature has made no amend-
ment since that time which would have precluded the applica-
tion of the Part 13 definition to actions brought under Part 14,
and so we will presume that the Legislature has acquiesced
in our determination of the Legislature’s intent in this matter.
Until the Legislature amends the NMBCA or indicates a con-
trary intent, we will continue to apply the fair value definition
in Part 13 to actions brought under Part 14, in its entirety and
as written.
   Second, even if we, for the sake of argument, consider the
commentary provided by the Model Business Corporation Act,
in the 2013 version, as well as the 2016 and 2020 versions, it
indicates that discounts for lack of marketability or minority
status are inappropriate in most appraisal actions, because such
discounts “give the majority the opportunity to take advantage
of minority shareholders who have been forced against their
will to accept the appraisal-triggering transaction.” 19
   Applying that rationale to this case, the result would be
similar: Bohac and the rest of the other devisees of the Estate
have been forced to accept BSC’s election to purchase even
though Bohac sought the dissolution of the entire corpora-
tion. Discounts such as those sought by BSC are inappropriate
17
     Estate of Schluntz v. Lower Republican NRD, 300 Neb. 582, 915 N.W.2d
     427 (2018).
18
     Anderson v. A &amp; R Ag Spraying &amp; Trucking, supra note 1.
19
     3 Model Business Corporation Act Ann., supra note 9.
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         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
where, as here, BSC was able to force Bohac and the other
minority shareholders to accept this transaction and thus held a
distinct advantage over them.
   Finally, the commentary in § 13.01 of the Model Business
Corporation Act mentions only that a minority discount may
be appropriate under § 14.34 of the act, but does not mention
discounts for lack of marketability or otherwise indicate that
such a discount may be applicable to actions under § 14.34.
And § 14.34 also expressly mentions only a minority discount.
We decline to assume that lack of marketability discounts
are applicable to actions brought under § 14.34, where not
envisioned in the language of that section. Contrary to BSC’s
contentions, the Model Business Corporation Act official com-
mentary does not make clear that discounts are applicable and
appropriate in this case. Rather, that commentary indicates that
all discounts for lack of marketability should be excluded and
that only minority discounts should be considered.

             (iii) Oppression Need Not be Proved to
                   Justify Exclusion of Discounts
   The trial court, in determining the applicability of discounts,
stated that this action was “not analogous to a dissenting
sharehold[er] exercising appraisal rights because this is not a
case involving wrongful conduct by majority shareholders or
minority shareholder oppression” and that
      given the totality of evidence before the Court, the Court
      cannot find that the majority shareholders engaged in
      wrongful conduct or oppression of the minority share-
      holders based on this limited testimony. Furthermore,
      the context of this action is one brought by the minor-
      ity shareholder seeking to be bought out for distribution
      of the value of shares within the Estate. Therefore, the
      application of discounts must be determined based on
      equitable principles.
   This is an inaccurate representation of this case. Bohac
did allege wrongful and oppressive conduct by the majority
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             Nebraska Supreme Court Advance Sheets
                      310 Nebraska Reports
                        BOHAC v. BENES SERVICE CO.
                            Cite as 310 Neb. 722
shareholders when she, on behalf of the Estate, filed a petition
for dissolution of BSC. It was BSC that exercised its right to
elect to purchase in lieu of dissolution, which compelled the
Estate to sell its interest in the company.
   That there was “limited testimony” on oppression, as indi-
cated by the trial court, is expected. As agreed by both par-
ties, the sole issue tried to the court was the determination of
“‘fair value’ of [Bohac’s] 14.84% stock interest in [BSC] as
of September 19, 2018,” under § 21-2,201(d). It is misleading
to say the action was “brought by the minority shareholder
seeking to be bought out,” when Bohac actually sought dis-
solution and alleged oppression from the beginning. It is
unsurprising that such evidence was not presented in further
detail at trial because the issue of oppression was not tried to
the court at all.
   [8] Further, dissenter’s rights statutes in many jurisdictions
do not require the minority to prove that the majority has
engaged in blameworthy conduct in order to receive protec-
tions. In appraisal cases, for example, a dissenting minority
shareholder’s right to a fair value appraisal can be triggered
merely by the majority’s benign decision to engage in a merger
or some other corporate transaction. 20 Minority shareholders
in these cases are protected from discounts for lack of market-
ability or minority status, not because there has been fault but
simply to protect the vulnerability of the dissenter. 21
   Even if we were to assume that the Legislature did not
intend for us to apply Part 13’s definitions, including the
20
     Moll, supra note 14.
21
     See, e.g., Pueblo Bancorporation v. Lindoe, Inc., 63 P.3d 353, 364 (Colo.
     2003) (adopting enterprise value approach to fair value and noting that
     such interpretation is “clear majority view” in appraisal cases); Lawson
     Mardon Wheaton, Inc. v. Smith, 160 N.J. 383, 401, 734 A.2d 738,
     748 (1999) (“equitable considerations have led the majority of states
     and commentators to conclude that marketability and minority discounts
     should not be applied when determining the fair value of dissenting
     shareholders’ stock in an appraisal action”).
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         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
                  BOHAC v. BENES SERVICE CO.
                      Cite as 310 Neb. 722
specific exclusion of discounts, to evaluate actions brought
under Part 14, principles of equity would still require us to
prevent application of discounts where the dissenter holds a
minority interest and did not itself engage in oppressive, ille-
gal, or fraudulent conduct. To find otherwise would encour-
age majority oppression and would double-penalize minority
interest holders who choose to exercise their rights to petition
for dissolution when they feel the majority has engaged in
oppressive conduct. We therefore conclude that neither dis-
count shall apply.

                      (c) Premise of Value
   We turn next to the determination of the premise of value to
be applied in this case.
   [9,10] There are two premises of value that might apply to
this type of action: “as a going concern” or “as if in liquida-
tion.” A going concern premise of value is used in a fair value
determination when the subject company is expected to con-
tinue to operate into the future. A liquidation premise of value
is used in a fair value determination when the business is not
expected to continue, and it requires a determination of the net
amount that would be realized if the business is terminated and
the assets are sold piecemeal.
   Within the valuations provided by both experts, Janet
Labenz and Matt Stadler, as well as within the determination
by the district court, the selection as to premise of value was
inter­mingled with a discussion of the selection of valuation
methodologies (explained in more detail below). The premise
of value in this case was clearly as a going concern. Majority
stock­holders of BSC repeatedly indicated that they planned
to continue the company into the future and had no plans to
dissolve the company for any reason. BSC filed an election
to purchase the Estate’s shares in lieu of dissolution so that
it could continue business. The going concern premise must
therefore be applied to this valuation.
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                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
                   (d) Valuation Methodology
   Having identified the standard and premise, this court also
must select a methodology before a final valuation can be
calculated. In its assignment of error on cross-appeal, BSC
assigns that the district court erred in applying the asset-based
approach over the income-based approach.
   [11,12] There are three methods to value shares of a com-
pany: the asset-based approach, the income approach, and the
market approach. According to Stadler, the expert for Bohac,
the asset-based approach is “[a] general way of determining a
value indication of a business’s assets and/or equity using one
or more methods based directly on the value of the assets of
the business less liabilities.” Under the asset-based approach,
each asset is assigned a fair market value based on its worth if
the entity were sold on an asset-by-asset basis. Liabilities are
deducted from the total value of assets to arrive at the fair mar-
ket value of the business. The asset-based approach is gener-
ally applied when valuing a business whose operations require
significant investment in fixed assets.
   [13] Stadler explained that the income approach is “[a]
general way of determining a value indication of a business’s
assets and/or equity using one or more methods wherein a
value is determined by converting anticipated benefits.” This
approach is based on the future, projected cashflow of a com-
pany, rather than the assets. It assumes an investor could choose
to invest in the company or in a business with similar invest-
ment characteristics, and considers historical data to ­project
future cashflow.
   [14] Stadler further explained that the market approach is
“[a] general way of determining a value indication of a busi-
ness’s assets and/or equity using one or more methods that
compares the subject to similar investments that have been
sold.” At trial, the expert opinions provided by both parties
agreed that the market approach was inapplicable, because
there were insufficient comparable corporations or prior sales
that could be used to draw a comparison. This leaves us with a
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                         BOHAC v. BENES SERVICE CO.
                             Cite as 310 Neb. 722
choice of either the asset- or income-based approaches or some
combination of the two.
   Bohac argues that the principal of “highest and best use”
requires application of the asset approach, because the asset-
based approach yielded a higher valuation amount from both
experts at trial. BSC argues that this understanding of the
principle of highest and best use is misplaced and artificially
inflates the value of BSC. BSC cites New York case law that
“rejected application of the higher valuation because it did not
account for the reality of the underlying situation of the corpo-
ration and required presumptions not based on actual facts.” 22
   Labenz, the expert for BSC, stated in her report that under
the principle of highest and best use, “the value of a company
is deemed to be the higher of the two values determined under
a going concern or a liquidation premise.” This would mean
that under the highest and best use principle, where the higher
value came from liquidation, the company must be treated “as
if in liquidation.” However, this is inconsistent with the testi-
mony of the parties that BSC will continue to operate into the
future. And Labenz chose to continue her valuation based on
the lower of the two numbers presented, $13,021,000 versus
$18,043,000. As noted by the district court, Labenz “does not
explain why the court should not adopt her conclusion with the
higher value under the asset approach.”
   By contrast, Stadler, the expert for Bohac, conducted a val­
uation of BSC and the Estate’s interest using an asset approach
and a going concern premise of value. This analysis takes into
account the significant assets held by the company, as well
as the company’s assertion that it will continue to operate
into the future. Stadler explained the reason for discrepan-
cies between his own report and that of Labenz, referring to a
renowned valuation expert who posits that analysts will often
“mistakenly confuse the use of asset based approach with a liq-
uidated premise of value when it can, in fact, be used with all
22
     Reply brief for appellee at 2.
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                  BOHAC v. BENES SERVICE CO.
                      Cite as 310 Neb. 722
premises of value including as a going concern.” Labenz had
testified at trial that she agreed with the valuation expert, but
“did not explain why she opted not to use the going concern as
a premise of value herein under her asset approach analysis.”
   BSC has significant assets. The principle of highest and
best use does not require that we apply a liquidation premise
of value when such would be contrary to facts suggesting that
the company was a going concern. Due to these many factors,
the correct methodology to adopt for valuation of BSC is an
asset approach.
                     (e) Value Determinations
   At trial, the parties presented multiple witnesses and experts
to testify about the assets held by BSC, including parts inven-
tory and equipment. They also testified to the chemical rebates
BSC receives on chemicals that are sold and the potential tax
liabilities that BSC would incur under the asset or income
approaches. As with the issues discussed above, this subissue
continues as part of the overall determination of fair value of
the Estate’s interest in BSC, and the standard of review is de
novo with weight given to the trial court’s determinations of
credibility. Because the trial court presided over this matter
and observed witness and expert testimony, the trial court is
best situated to make determinations regarding the credibility
of valuations provided.
                           (i) Equipment
   As to the value of equipment, a licensed auctioneer and
certified appraiser testified regarding an appraisal that he con-
ducted for the Estate, whereas BSC offered a valuation of
equipment prepared by the general manager for BSC. BSC’s
general manager also testified that he regularly priced equip-
ment owned by BSC by using information listed by an online
company that lists auction results for farm equipment.
   The trial court ultimately found the valuation of the auction-
eer to be more credible than that of BSC’s general manager,
noting that “[his] methodology involved multiple comparable
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                  BOHAC v. BENES SERVICE CO.
                      Cite as 310 Neb. 722
sales, he physically viewed the property to ascertain its condi-
tion, he is an independent consultant, he holds a certification
in appraisals, and he has significant experience in the valuation
of such property.” We defer to the trial court’s determination of
credibility and find that the value of equipment is $11,663,325,
as valued by the auctioneer.
                       (ii) Parts Inventory
   As to the value of the parts inventory held by BSC, Randy
Koski testified for the Estate. Koski is a certified public
accountant with a bachelor’s degree in business administra-
tion with an accounting concentration, as well as a minor in
economics. Koski testified to his experience in all accounting
aspects for implement dealerships over the last 20 years.
   BSC offered testimony from Chris Benes, the president of
BSC, as well as a valuation report he prepared based on “what
a third party would pay for the parts.” Chris’ report did not use
a method of valuing parts that included buy-backs by the man-
ufacturer, even though the court “heard a great deal of evidence
about the buy-back laws under Neb. Rev. Stat. §87-706 and
707.” One of Leonard and Marlene’s daughters, who worked
as the parts manager for BSC for almost 40 years also testified
that “there would be parts on the inventory list that were not
returnable to the manufacturer but were still saleable” but that
these items were “‘very minute’” and were about 1 percent of
the inventory.
   Ultimately, the trial court found that the valuation provided
by Koski was more credible that that provided by Chris. The
court noted:
      Koski’s methodology included values that are realized
      under the buy-back laws, taking into account that this
      is not a liquidation, so the 15 % restocking charge will
      actually not be incurred. Further, the valuation accounted
      for all saleable parts, and it does not exclude items that
      haven’t sold in the last two years, as those still hold a
      value. Further, he is an independent consultant and has
      significant experience in the valuation of such property.
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                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
We defer to the trial court’s determination of credibility and
find that the value of parts inventory is $1,993,033, as valued
by Koski.
                       (iii) Chemical Rebate
   Next is a determination of value for the chemical rebate that
BSC receives when chemicals are sold to BSC clients. Chris
testified that the financial benefits of the rebate are never real-
ized by BSC, because the rebates are passed on to customers
through the pricing of the chemicals for sale. The trial court
noted that “[t]here is not an accurate accounting before the
Court to explain what percentage [BSC] discounts the chemi-
cals in comparison to how much it receives from the rebate.”
The court also noted that Chris had testified to an inventory
kept by BSC regarding the rebate that uses a “fictitious number
some percentage less than what was actually paid” and that,
as aptly described by Chris, this was “‘lazy or poor account-
ing.’” We again defer to the trial court’s determination of cred-
ibility regarding testimony about the rebate and agree that the
chemical rebate should be categorized as an account receivable
by BSC.
                       (iv) Tax Liabilities
   The last value determination to be addressed is the issue of
tax liabilities.
   In schedule 10 of her appraisal of BSC, Labenz assigned an
income tax liability of almost $6.6 million and assumed selling
expenses of about $3.5 million. Conversely, Stadler’s appraisal
recorded a deferred income tax on the sale of fixed assets for
10 years based on the assessment that it is unlikely the assets
will be sold in the next 10 years, if ever, and instead will be
“passed down generationally.”
   The trial court found Stadler’s assessment of a potential
tax liability to be more credible than that of Labenz, because
Labenz’ report “assumes an immediate tax consequence dur-
ing a liquidation” which will not be “realized by [BSC] since
the Company will continue to operate rather than dissolve.”
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                       BOHAC v. BENES SERVICE CO.
                           Cite as 310 Neb. 722
We again defer to the trial court’s determination of cred-
ibility, where it accepted Stadler’s determination of potential
tax liability.
                 (f) Final Fair Value Calculation
   Based on the above material, we conclude that BSC should
be valued according to the fair value standard laid out at
§ 21-2,171(3). Moreover, we find that neither minority nor lack
of marketability discounts is applicable. Further, BSC must be
valued based on a going concern premise of value, using the
asset-based approach for methodology. As a result, we reverse,
and remand this issue to the district court, with directions to
recalculate the fair value of BSC and the Estate’s 14.84 percent
interest in accordance with this opinion.
              2. Bohac’s Claim for Reimbursement
                          of “Expenses”
   In her third assignment of error, Bohac asserts that the district
court erred in failing to find that Bohac had probable grounds
for relief entitling the Estate to an award of expenses pursu-
ant to § 21-2,201(e). Bohac claims that she is entitled to more
than $30,000 for costs incurred, plus more than $87,849.33 in
attorney fees and costs, under the authority of § 21-2,201(e)
and our opinion in Detter v. Miracle Hills Animal Hosp. 23 Our
disposition of this issue requires us to interpret § 21-2,201(e).
That section provides:
      Upon determining the fair value of the shares, the court
      shall enter an order directing the purchase upon such
      terms and conditions as the court deems appropriate . .
      . . If the court finds that the petitioning shareholder had
      probable grounds for relief under subdivision (a)(2)(i)(B)
      or (D) of section 21-2,197, it may award expenses to the
      petitioning shareholder. 24
23
     See Detter v. Miracle Hills Animal Hosp., 269 Neb. 164, 691 N.W.2d 107     (2005).
24
     § 21-2,201(e) (emphasis supplied).
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                       BOHAC v. BENES SERVICE CO.
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In interpreting the language of the statute itself, we are required
to reach an independent, correct conclusion irrespective of the
determination made by the court below. However, in review-
ing the contents of an award made pursuant to the statute, our
review will be for an abuse of discretion.
   Bohac argues that because § 21-2,201(e) uses the term
“expenses,” the statute permits “not only costs and expert
expenses but also attorneys’ fees.” 25 Bohac refers to Detter,
where we held that reasonable attorney fees and expenses
were recoverable in an election to purchase in lieu of dissolu-
tion action, provided that the petitioner could show that the
respond­ent’s conduct was illegal, oppressive, or fraudulent in
its form or that the corporate assets were being misapplied
or wasted. 26
   However, Bohac’s argument is flawed. Detter interprets
§ 21-20,166, the predecessor statute to § 21-2,201. Under
that language, a court was specifically permitted to “award
to the petitioning shareholder reasonable attorney’s fees and
expenses and fees and expenses of any experts employed by
him or her,” 27 if the court found that a petitioning shareholder
had probable grounds for relief from oppressive or wrong-
ful conduct. But § 21-20,166 was repealed and replaced with
§ 21-2,201 in 2014 and no longer includes the language from
Detter which Bohac relies upon. This change was made pursu-
ant to the adoption of the NMBCA, and this language is still
in force today. 28
   [15] The intent of the Legislature is expressed by omission
as well as by inclusion. 29 We cannot ignore that the Legislature
specifically removed reference to attorney fees when it adopted
the NMBCA and repealed and replaced § 21-20,166 with
25
     Brief for appellant at 38.
26
     Detter v. Miracle Hills Animal Hosp., supra note 23.
27
     § 21-20,166(5)(b) (Reissue 2012).
28
     § 21-2,201.
29
     In re Estate of Hutton, 306 Neb. 579, 946 N.W.2d 669 (2020).
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                       BOHAC v. BENES SERVICE CO.
                           Cite as 310 Neb. 722
§ 21-2,201. Upon our de novo review of this statutory lan-
guage, we find that Bohac is not entitled to an award of attor-
ney fees.
   We note that, while Bohac is not entitled to attorney fees,
under certain circumstances, a litigant in her position might
be entitled to an award of other expenses. In order to recover
expenses under § 21-2,201, the court must find that Bohac, as
the petitioning shareholder, had probable grounds for relief. If
such grounds for relief exist, the court “may” award expenses to
the petitioning shareholder. But we find that the district court’s
denial of such expenses was not an abuse of discretion.
   The record shows that the trial court had opportunity to hear
testimony and review evidence presented by Bohac regard-
ing alleged misconduct by the majority shareholders. While
Bohac detailed this alleged oppression at length, the record
also indicates that there are potentially innocent intentions
behind each event. After hearing testimony, observing the wit-
nesses, and reviewing other evidence presented at trial, the
trial court accepted one version of the facts over another. We
find no evidence that the court abused its discretion on this
determination.

          3. Court-Ordered Payment of Judgment
   In her fourth and fifth assignments of error, Bohac asserts
that the district court erred in failing to award interest starting
on September 19, 2018, pursuant to § 21-2,201(e), and granting
BSC 5 years to make annual, interest-free payments.
   Section 21-2,201(e) provides that the court, in setting terms
of purchase, may include both installment payments and inter-
est, but that neither is required. The court, having conducted
the bench trial and presided over the case for an extended
period of time, was in the best position to determine the appro-
priate terms and conditions of payment. 30 We find no abuse of
discretion in the trial court’s determination of payment terms.
30
     See Wayne L. Ryan Revocable Trust v. Ryan, supra note 4.
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                   BOHAC v. BENES SERVICE CO.
                       Cite as 310 Neb. 722
   While we find no abuse of discretion, we recognize that
the current payment terms reflect the district court’s fair value
determination; because we have instructed the court to recal-
culate the fair value of BSC in accordance with this opinion,
these payment terms may need to change based on the needs
and abilities of both parties. Accordingly, we vacate the judg-
ment amount, including the determination of terms and condi-
tions, and direct that after performing the fair value calculation
required by this opinion and based upon the existing record,
the district court shall determine the terms and conditions of
the purchase, which may include payment of the purchase price
in installments, with or without interest, as the court deems
appropriate in light of the recalculated purchase price.

                      VI. CONCLUSION
   We conclude that the district court erred in its determination
of the fair value of BSC, both because it did not use the cor-
rect definition and because it subjected the Estate’s shares to
discounts. As such, we vacate the award, and we reverse and
remand with directions for further proceedings consistent with
this opinion. However, we affirm the district court’s denial of
attorney fees and other expenses.
            Affirmed in part, vacated in part, and in part
            reversed and remanded with directions.
   Heavican, C.J., and Stacy, J., not participating.
